Case 2:25-cv-00988-GRB-AYS Document4 Filed 02/21/25 Page1of1PagelD #: 31

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

WILFREDO SAMBULA, EZRI URQUIA, and
SANDRA CAMPOS, on behalf of themselves and
others similarly situated,

Plaintiff(s)
Vv.

Civil Action No. 25-cv-00988-GRB-AYS

MICHAEL MIZHIRITSKY, MICHAEL MARGARYAN,
FERNANDO ZAVALA, and LMM RAINBOW CAR
WASH LLC d/b/a RAINBOW CAR WASH,

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) MICHAEL MIZHIRITSKY, 225 W. Old County Road, Hicksville, NY 11801;
MICHAEL MARGARYAN, 225 W. Old County Road, Hicksville, NY 11801;
FERNANDO ZAVALA, 225 W. Old County Road, Hicksville, NY 11801; and
LMM RAINBOW CAR WASH LLC d/b/a RAINBOW CAR WASH, 225 W. Old County
Road, Hicksville, NY 11801.

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Marcus Monteiro, Esq.
Monteiro & Fishman LLP

91 N. Franklin Street, Suite 108
Hempstead, New York 11550

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date: 2/21/2025

Signature of Clerk OF. Deputy Clerk

